    Case 2:22-cv-14102-DMM Document 23
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                   Southern District
                                                 __________ Districtof
                                                                     ofFlorida
                                                                        __________

   DONALD J. TRUMP, 45th PRESIDENT OF THE                            )
               UNITED STATES                                         )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                         Civil Action No. 22cv14102-DMM
                                                                     )
               HILLARY R. CLINTON, et al.,                           )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DEBBIE WASSERMAN SCHULTZ
                                       4479 Fox Glove Lane
                                       Weston, Florida 33331-4000




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Peter Ticktin, Esquire
                                       The Ticktin Law Group
                                       270 SW Natura Avenue
                                       Deerfield Beach, Florida 33441


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:          Mar 24, 2022
                                                                                       Signature ofs/ Ahlai
                                                                                                   Clerk  orIsrael
                                                                                                             Deputy Clerk

                                                 Select Courthouse
